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                          EXHIBIT I
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                                  DELETION CODES



   G.   THE LAW ENFORCEMENT PRIVILEGE - THE DISCLOSURE OF THIS INFORMATION
        COULD CAUSE HARM TO, IMPEDE, IMPAIR, OR HINDER AN INVESTIGATION AND/OR
        AN INVESTIGATIVE INTEREST OF THE FBI.

   H.   THE LAW ENFORCEMENT PRIVILEGE - THE DISCLOSURE OF THIS INFORMATION
        WOULD IMPEDE OR IMPAIR THE EFFECTIVENESS OF AN INVESTIGATIVE
        TECHNIQUE, METHOD OR PROCEDURE OF THE FBI.

   J.   INFORMATION, THE DISCLOSURE OF WHICH IS PROHIBITED BY FEDERAL
        STATUTE.

   S.   PERSONAL IDENTIFYING INFORMATION RELATED TO LAW ENFORCEMENT
        PERSONNEL AND THEIR FAMILY MEMBERS, THE DISCLOSURE OF WHICH IS
        ROUTINELY GUARDED FOR SECURITY REASONS.
